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DANIEL FLINT

Plaintiff,
V.
DANIEL FLINT,
Defendant.

ios Angeles, California 90012-4202

UNITED STATES OF AMERICA,

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

Case No. CR 17-697-SJO

MOTION FOR A JUDGMENT OF
ACQUITTAL; WRITTEN
SUMMARY OF LAW

Trial Date: October 16, 2018

The Honorable S. James Otero

 

 

DATED: October 17, 2018

 

Daniel Flint, through his counsel of record, Deputy Federal Public Defenders
Georgina Wakefield and Craig Harbaugh hereby this Honorable Court for a motion for

a judgment of acquittal under Rule 29 of the Federal Rules of Criminal Procedure.

Respectfully submitted,

HILARY POTASHNER
Federal Public Defender

By

 

GEORGINA E. WAKEFIELD
CRAIG A. HARBAUGH
Deputy Federal Public Defender

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I. INTRODUCTION
Mr. Flint moves for a judgment of acquittal on all elements and bases, including
venue. This motion provides legal background on some, but not all, of those bases.
Because the facts will depend on testimony at trial after the motion is written, counsel

will supplement this motion orally at the close of the government’s case-in-chief.

Il. LEGAL BACKGROUND SUPPORTING THE MOTION
A. The Anticipated Evidence Will Be Insufficient to Sustain a Conviction |

Because It Will Show No Violation of LAX’s Security Procedures

Under the statute, and as charged in the indictment, the government must prove
four elements: (1) Mr. Flint entered an airport area that serves an air carrier;' (2) he
made that entry in violation of security requirements prescribed under 49 U.S.C. §§
44901 and 44903(c); (3) he acted knowingly and willfully; and (4) he had the intent to
evade security procedures or restrictions.

The second element cross-references the security requirements prescribed under
49 U.S.C. §§ 44901 and 44903(c). In other words, the government must prove that Mr.
Flint’s entry actually violated a security requirement prescribed in those statutes.

The operative regulation requires passengers to submit their persons and property
to screening by TSA in accordance with the procedures being applied to control access
to the sterile area. See 49 C.F.R. § 1540.107(a).

By law, each airport must generate an airport security program containing the

procedures applied to control access at the airport. See 49 U.S.C. § 44903; 49 C.FLR. §

 

' The terms “an aircraft” and “foreign air carrier” contained in the statute are irrelevant here
because the indictment alleges only that Mr. Flint “entered an airport area that serves an air carrier.”
The specific area charged in the indictment is Terminal 3 at LAX.

To the extent the government’s theory is that the jury can convict Mr. Flint based on his
failure to submit his pouch for screening at MDW, that would be an incorrect statement of the law and
Mr. Flint would further argue that venue is improper in the Central District of California.

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1542.101. Each airport is required to have its own airport security program. Jd. In
other words, LAX’s security program is different from MDW’s security program.

The security program must: (1) provide for the safety and security of persons
against introduction of prohibited items onto an aircraft; (2) be in writing and signed by
the airport operator; (3) include an index and description of secured areas, boundaries,
procedures to control movement, signs required by law, etc.; and (4) be approved by
TSA. 49 C.F.R. §§ 1542.101(a), 1542.103. Each airport security program is
considered sensitive security information and i is prohibited | from being disclosed to the

public. 49 C.F.R. § 1542. 101(0).

Respectfully submitted,

HILARY POTASHNER
Federal Public Defender

DATED: October 17, 2018 By

GEORGINA E. WAKEFIELD
CRAIG A. HARBAUGH
Deputy Federal Public Defender

 

 

 
